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                            UNITED STATES BANKRUPTCY COURT

                          SOUTHERN DISTRICT OF OHIO (DAYTON)

IN RE:                                             *       CASE NO. 19-30822

TAGNETICS INC.                                     *       JUDGE: Humphrey

      INVOLUNTARY DEBTOR            *     CHAPTER 7
______________________________________________________________________________

   WITHDRAW OF MOTION TO COMPEL THE PROCUCTION OF DOCUMENTS
 (DOC. 50) BY PETITIONING CREDITORS KAYSER VENTURES LTD AND S-TEK,
                                     INC.
______________________________________________________________________________

       Now comes the Petitioning Creditors KAYSER VENTURES LTD. and S-TEK, INC., by
and through their counsel Christopher L. Wesner, and hereby withdraw the Motion to Compel
the Production of Documents filed here on July 11, 2019 as document no. 50.

Dated: July 19, 2019                                Respectfully submitted,
                                                    /s/ Christopher L. Wesner
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                                                    Troy, OH 45373
                                                    Phone: (937) 339-8001
                                                    Fax:    (937) 339-5440
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                                     CERTIFICATE OF SERVICE
        I hereby certify that this document was served by email and / or regular U.S. mail this day of July 19,
2019 upon the following:

            Stephen B. Stern
            238 W. Street
            Annapolis, MD 21401
            Counsel for Tagnetics Inc.



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